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OS-CR-UI)ZGG-OR])

United States District Coui‘t

for '

We stern District of Washington

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Report on Offender Under Supervision

Name of Offeoder: Matthew Alex Erickson Case Number: CRUS-O¢]ZBORSL-OOS
Name of .I udicial Offieer: The Honorable Robert S. Lasnik

Date of Original Sentence: 06!19/06 Date of Report: 9)'8!08 '
Original Offenle: Conspiracy to Distribute Cocaine Base

Original Sentence: 30 months custody, five years supervised release

Type of Supe'rvision: Supervised Release Date Supervisinn Commenced: 1211 1107
Speciai Couditions Imposed:

E Substance Abuse. Financial Disciosure U Restitution
E| Mental I'Iealth Ef Fine EJ Connnunity Service

E Other: search; reside at residential reentry center for 90 days

 

 

NoNCoMPLIANcE sUsn/lARY

The probation officer believes that Matthew Alex Erickson has violated conditions of supervision by:

7 Violation
Number Nature of Noncornpliance
l Using Marijuana on or before September l, 2008, in violation of standard condition 7.

This is the lst positive test result since:
Placement under supervision

The probation officer has reviewed the matter and taken the following action:

El Flacement in structured testing program E lncreased frequency of testing

E Reprimand by probation officer E\ Compliance conference with unit supervisor

El Referrai for professional assessment Referral for counseling

U Referra] to community based residential El Referral for intensive outpatient treatment
program s

lt is recommended that no action be taken by the court at this time. The offenders substance abuse, which is cited
in this report, may be aileged in a violation proceeding ata later time in the event of further noncompliance

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The Honorable R_obert S. Lasnik - PBSC 2
Report on 0ffender
Under Supervision

RE: Matdiew A]ex Eri_ckson

I swear under penalty of mle the foreg ` g is true and correct

2008.

 

f
Executed on this day of

 
     

 

  

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SeniorU.S. bati Ofiicer

  

APPRovED:
lWiniam s. scm
Chief U. S. Probation Officer

BY: MMAZ,/-
Christopher S.r Luscher
Supervising'U‘S. Probation Ofiieer

9/8/03
JIT/lh

 

 

THE COURT FINDS PROBABLE CAUSE AND ORDERS:
Ccncur with probation officer action

E| Submjt a Request for Modifying the Condition or Term of Supervision

|:| Sllbmit a Request for Warrant or Sunnnons

E| Other

E Signatu_re of Judicial Ofl:icer

§o,ti,i_QL 2003

 

 

